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BTXN 036 (rev. 11/19)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Highland Capital Management, L.P.                            §
                                                             §    Case No.: 19−34054−sgj11
                                          Debtor(s)          §    Chapter No.: 11
Dugaboy Investment Trust et al.                              §
                                     Plaintiff(s)            §    Adversary No.:     23−03038−sgj
      vs.                                                    §
Highland Capital Management, L.P. et al.                     §
                                     Defendant(s)            §


                                           NOTICE OF DEFICIENCY
Notice is hereby given to the Debtor(s) that the Original Petition and/or Other Document(s) filed is/are deficient for
one or more of the following reasons:

      A mailing matrix containing an alphabetical listing of all creditors, was not filed with the petition as required by
      N.D. TX L.B.R. 1007−1(a). The mailing matrix must be filed within 48 hours of the date of this notice.
      Tax ID Number must be provided within 48 hours of the date of this notice.
      Debtor(s)' chapter 13 plan or plan summary was not filed with the petition. The plan or plan summary in a form
      acceptable to the Trustee must be filed. Local form number BTXN222 must be used and filed within 14 days of
      the date of the filing of the petition (Bankruptcy Rule 3015).
      Debtor(s)' chapter 13 plan or plan summary must be filed within 14 days from the date of the order of
      conversion (Bankruptcy Rule 3015).
      Debtor(s)' schedules were not filed with the petition. The schedules must be filed within 14 days of the date of
      the filing of the petition (Bankruptcy Rule 1007(c)).
      Declaration for Electronic Filing III(B)(3) within 7 days of the filing of the Petition.
      Declaration About an Individual Debtor's Schedules (Official Form 106Dec) within 14 days of the date of the
      filing of the petition.
      Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202) within 14 days of the
      date of the filing of the petition.
      Debtor(s)' statement of financial affairs was not filed with the petition. The statement of financial affairs must be
      filed within 14 days of the date of filing of the petition (Bankruptcy Rule 1007(c)).
      Attorney Fee Disclosure must be filed within 14 days of the date of the filing of the petition.
      Adversary Cover Sheet (Form 1040) not filed with the complaint. Form 1040 must be filed with the court within
      2 days from the date of this notice.
      Summary of Assets and Liabilities (Official Form 106Sum or 206Sum) not provided at the time of filing.
      Official Form 106Sum or 206Sum must be filed within 14 days of the date of the filing of the petition.
      Portions of the original petition were not answered or provided at the time of filing. An amended petition
      including the items indicated below must be filed within 3 days from the issuance of this notice.
      Twenty Largest Unsecured Creditors must be filed within 48 hours from the date of this notice.
      This case was filed without docketing a Form 121 Statement of Social Security Number. Form 121 must be filed
      with the court within 48 hours of the date of the petition pursuant to L.B.R. 1007−1(d). If a debtor Social
      Security Number was erroneously entered by you in this case, you must notify all parties and credit reporting
      agencies of the correct Social Security Number information.
      Certificate from an approved credit counselor of completion of a briefing received prior to the filing of the
      petition must be provided within ### days of the date of the filing of the petition. If the briefing was not
      completed prior to the petition date, the debtor must submit to the court a certification that complies with the
      requirements of 11 USC 109(h)(3)(A).
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Copies of employee income records must be provided within 14 days of the date of the filing of the petition.
Statement of Current Monthly Income must be provided within 14 days of the date of the filing of the petition.
Chapter 15 Service List must be provided within 14 days of the date of the filing of the petition.
                                                − continued −
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    Cash flow statement must be provided within 7 days from the issuance of this notice.
    Statement of operations must be provided within 7 days from the issuance of this notice.
    Balance sheet must be provided within 7 days from the issuance of this notice.
    Other:
Failure to comply with the N.D. TX L.B.R.'s and 11 U.S.C. § 521 to cure any or all of the deficiencies noted
above shall subject this petition to dismissal without further notice.
